      Case 1:11-cr-00113-DAD-BAM Document 145 Filed 07/08/15 Page 1 of 2


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     Telephone: (510) 507-8100
 4   Facsimile: (510) 525-0087
 5   Counsel for Defendant:
     JOHN ZHONG XIAN HUANG
 6
                             IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,      ) CASE NO. 1:11-CR-00113-AWI-BAM
 9                                  )
                    Plaintiff,      )
10                                  ) APPLICATION FOR ORDER
          vs.                       ) PERMITTING TRAVEL
11                                  )
     JOHN ZHONG XIAN HUANG,         )
12                                  )
                   Defendant.       )
13                                  )
     TO THE HONORABLE ANTHONY W. ISHII:
14
            The defendant JOHN ZHONG XIAN HUANG by and through his counsel, SETH P.
15
     CHAZIN, hereby makes application for an order permitting the defendant to travel to Southern
16
     California to visit family, departing the Northern District on July 25, 2015, and returning July 30,
17
     2015. Defendant will provide his itinerary and contact information to Pre-trial Services. Pre-trial
18
     Services Officer Timothy R. Elder II and Assistant United States Attorney Laurel J. Montoya have
19
     indicated that they have no objection to this request to travel.
20
            I declare under penalty of perjury under the laws of the state of California and the United
21
     States of America that the foregoing is true and correct, except as to those matters stated on
22
     information and belief, and that this application was executed on June 6, 2015, in Albany,
23
     California.
24
                                            _______/s/______________________
25                                          SETH P. CHAZIN
                                            Attorney for Defendant
26
                                            JOHN ZHONG XIAN HUANG

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      Case 1:11-cr-00113-DAD-BAM Document 145 Filed 07/08/15 Page 2 of 2


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 5   Attorneys for Defendant:
     JOHN ZHONG XIAN HUANG
 6

 7                              IN THE UNITED STATES DISTRICT COURT
 8                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                        ) CASE NO. 1:11-CR-00113-AWI-BAM
10                                                    )
                               Plaintiff,             ) ORDER PERMITTING TRAVEL
11                                                    )
            vs.                                       )
12                                                    )
     JOHN ZHONG XIAN HUANG,                           )
13                                                    )
                               Defendant.             )
14                                                    )
15
            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the defendant, John Zhong
16
     Xian Huang, may travel to Southern California, departing on July 25, 2015, and shall return on July
17
     30, 2015. The defendant shall provide his itinerary with contact information to Pre-trial Services
18
     prior to his departure.
19

20
     IT IS SO ORDERED.
21
     Dated: July 7, 2015
22                                               SENIOR DISTRICT JUDGE
23

24

25

26


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